
PER CURIAM.
This is an appeal from the summary denial of appellant’s motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. Although the *419trial judge denied the motion without an evidentiary hearing, he did not attach to his order any portion of the files or record to refute appellant’s allegations that the trial court sentenced him in excess of his negotiated plea, and increased his sentence after appellant began serving his term of imprisonment.
Accordingly, we reverse the order denying appellant’s motion and remand the case to the trial court. On remand, unless the case files and records conclusively show that appellant is not entitled to relief, the trial court shall order the state to file an answer. After receipt of the answer, the trial court shall determine whether an evi-dentiary hearing is required. If the trial court should summarily deny the motion again, it shall attach such portions of the record which conclusively refute appellant’s allegations. Any party aggrieved by the subsequent action of the trial court must file a notice of appeal within thirty days to obtain appellate review.
FRANK, A.C.J., and PARKER and ALTENBERND, JJ., concur.
